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  FULL NAME
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   STEVEn1 ~.GovLC~ BE56o'~
  COMMITTED NAME (if different)

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  FULL ADDRESS INCLUDING NAME OF INSTITUTION

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   po       G O X G$9.~ S~O LEDRO~CA `i39~d
  PR[SON NUMBER (if applicable)

   B E SlSO'~-
                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
  ~'f~~lE1~1 Ef2~ c. G'~ v ~t~                                    CASE NUMBER
                                                                           S:r8-cv-oozos -J"~a;rc
                                                                                             To be supplied by the Clerk

                                                   PLAINTIFF,      ♦, I s I     ~iw1~.~~ ~w►l,.7IaiN~ ~~
                                   v.
                                                                             CIVIL RIGHTS COMPLAINT
  012A.NGE Go vtv'T-~ S H EI`Z~FF~S                                             PURSUANT TO (Check one)
                                                                  Q~ 42 U.S.C. § 1983
                                               DEFENDANT(S).
                                                                  ❑ Bivens v. Six Unknown Agents 403 U.S. 388(1971)

A. PREVIOUS LAWSUITS                    +~ I S ~T Aw►et~de          Cuw~~o ~~r „~~"

     1. Have you brought any other lawsuits in a federal court while a prisoner: D Yes            1~No

     2. If your answer to "1." is yes, how many?

           Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the additional lawsuits on an
           attached piece of paper using the same outline.)




                                                    CIVIL RIGHTS COMPLAINT                                        ~pc~L' I Uf
CV-66 (7/97)
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          a. Parties to this previous lawsuit:
             Plaintiff


                 Defendants


          b. Court


          c. Docket or case number
          d. Name ofjudge to whom case was assigned
          e. Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it
                 appealed? Is it still pending?)
         £       Issues raised:




          g. Approximate date of filing lawsuit:
          h. Approximate date of disposition


B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

     1. Is there a grievance procedure available at the institution where the events relating to your current complaint
        occurred? ~Yes ❑ No

     2. Have you filed a grievance concerning the facts relating to your current complaint? $~ Yes                     ❑ No

         If your answer is no, explain why not




     3. Is the grievance procedure completed? ❑Yes '~No

         If your answer is no, explain why not G ri~~c.~ v~~. 6O ~G ~ O C k ~~firrc~'Ye~~_
               .ter-~~... _C P Ir            1 P L~ 1!~ _C!'1~~ P Y ~rf P c-I ~ I E~cl.. SC, ~/ei/'C)                 of Ir'I Q_Vac ✓s C~.S

           ig vx~v~.~( c~+-.~ rc~ 'fi(-~ ~'r'~`s~.v-io ti.s c~ 11 eaj~`f'io►-~S,
     4. Please attach copies of papers related to the grievance procedure.

C. JURISDICTION

     This complaint alleges that the civil rights of plaintiff S~ ~E ~ ~~~-~ ~ U V L Lb
                                                                                            (print plaintiffs name)

                                                       y C/B3f 3 --L, p0(3p~(s'$9~ So~~y(c~ C~gq3q67
     who presently resides at a~~~~~'„ C. Tom- FaC~~~~7~
                                                   '             (mailing ad ress or place o ~men
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     were violated by the actions of the defendants) named below, which actions were directed against plaintiff at
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                                                   mstitut~on city w ere v~o ahon occurre



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CV-66 (7/97)                                                                                                                        ~'~'
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     on (date or dates) C~6~-ZZ — 2D 1z
                                      7
                              O               (     +)
     NOTE:        You need not name more than one defendant or allege more than one claim. If you are naming more than
                  five (5) defendants, make a copy of this page to provide the information for additional defendants.

     1. Defendant U 12A~-(DOGE ~v~/NTY S HE12.LFFS D~i~12~ME1~7~resides or works at
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                      (full address of first defendant)

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                                        ancTttT~~any)
                      ( e en ants position


          The defendant is sued in his/her (Check one or both): $.individual           ~6 official capacity.

          Explain how this defendant was acting under color of law:
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     2. Defendant      ~~~ '         v~         d ~~l~c.~ v~ G1~                                            resides or works at
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                      (full address of first defendant)

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          The defendant is sued in his/her(Check one or both): ❑individual             l~C official capacity.

         Explain how this defendant was acting under color of law:


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     3. Defendant       ~ cam► ✓► d~~'c~l H~~G 1~'1 ~ ~~'                                                   resides or works at
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          The defendant is sued in his/her (Check one or both): ~I individual             `official capacity.

         Explain how this defendant was acting under color of law:
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     on (date or dates) 06'
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     NOTE:        You need not name more than one defendant or allege more than one claim. If you are naming more than
                  five (5) defendants, make a copy of this page to provide the information for additional defendants.

    ~. Defendant                                                                                       resides or works at
                           name of Yirst

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                     (full address of first defendant)

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          The defendant is sued in his/her (Check one or both): ~ individual       I$ official capacity.

          Explain how this defendant was acting under color of law:
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  ~. Defendant             q      ~O              V       ~'e~,                                        resides or works at
                      ( u name o     first e en ant

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                      (full address of first defendant)

                      d~ sD lK 9 ha r►~ l~r~'., Dew -f-Y 5'~,e,r~ f~ 8 ad~e.~ 2 2ge
                      (de}`endant's posiiion and title, many)


          The defendant is sued in his/her (Check one or both): '~ individual      ~[ official capacity.

         Explain how this defendant was acting under color of law: O r^ 6 -Z- 2-" ~ ''~-
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   ~. Defendant                                                                                        resides or works at
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                      (full address of first defendant)

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          The defendant is sued in his/her (Check one or both):       individual      official capacity.

         Explain how this defendant was acting under color of law:
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   ~. Defendant                                                                                           resides or works at
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                    (full address of first defendant)


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         The defendant is sued in his/her (Check one or both): ]individual           official capacity.

        Explain how this defendant was acting under color of law:
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   g. Defendant        e~                                                 resides or works at
                    (full name of first defendant)

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                    (full address of first defendant)

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        The defendant is sued in his/her (Check one or both):;individual             official capacity.

        Explain how this defendant was acting under color of law:
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     on (date or dates) O 6""'ZZ-"'~-OI,'} "t'o r o—~-S~--2~j'~, q// ~qi~.-~S lY1 Cnw~(c,~r►'~:
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    NOTE:         You need not name more than one defendant or allege more than one claim. If you are naming more than
                  five (5) defendants, make a copy of this page to provide the information for additional defendants.

   ~. Defendant ~C.1~'e. ~C                    yid                                                          resides or works at
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                      (full address of first defendant)

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          The defendant is sued in his/her (Check one or both): j$.individual             official capacity.

         Explain how this defendant was acting under color of law:
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                      (full address of first defendant)

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          The defendant is sued in his/her (Check one or both):            individual ~~ official capacity.

         Explain how this defendant was acting under color of law:
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                      (full address of first defendant)




         The defendant is sued in his/her (Check one or both): 1~~individual              official capacity.

         Explain how this defendant was acting under color of law:
          (~C'.-~~~o~ Vi~ VX10~/'E'_~ ~ ~ ~a r~n~s! ~ ~O G1 C@...'                                      ~v 1~ IC ~ Wa_S
          ~.., .~ ."~ ~~ '~i`f~,. ~ "f~ ~Q e 1'G~ ~"f`(a°~ OI v~nPi~Uw~,~2cv~~ r IQr lyl / l,~
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           of vicJ~ ~'r v ~ a~~~ w.~c ~i ~a ~,S l.~Ifi~-i L~ ~ Sa Gar f~ ~ E' S ~,C'~

                                                            CIVIL RIGHTS COMPLAINT
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  1 ~I: Defendant      I          l"LO►        1 Tf~ 2S ~ r~                                           resides ar works at
                     ~ruii name or nrst aerenaant~

                      55o           Imo. Fla,.v~ ~r- S~'t; Sc~ ~,"t~ i4~g~. G4 9 z'~~
                     (full address of first defendant)

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                       efend~nt's posCtion and title, if any)


         The defendant is sued in his/her (Check one or both):           individual ~ official capacity.

         Explain how this defendant was acting under color of law:
          V C-~~v~Au NI                               1O A f~~w ~~ Oi-Ivl! l~~1~_~:5`~ ~~ ~r0►, ~~.tS


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  i 3. Defendant                                                                                       resides or works at
                     (full name of first defendant)

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                     (full address of first defendant)


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         The defendant is sued in his/her (Check one or both): ~individual ~ official capacity.

         Explain hovy this defendant was acting under color of law:




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  1 4. Defendant       ?          ~E'
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                    (full address of first defendant)

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         The defendant is sued in his/her (Check one or both): 1~individual        official capacity.

         Explain how this defendant was acting under color of law:



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  1 5. Defendant                                                                                    resides or works at
                     (full name of first defendant)

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                     (full address of first defendant)

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         The defendant is sued in his/her (Check one or both):,individual ,~ official capacity.

         Explain how this defendant was acting under color of law:
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    on (date or dates) ~6—ZZ~— Zol '~- ,'t-'o (O~—Z~ -
                                                     ~ Z.o/'`~- , q ~ f C~qi hviS 1 Y1Cow~1C~q)1.~'~,
                                    (Clam 1)                       (Claim II)                      (C aim III)

    NOTE:       You need not name more than one defendant or allege more than one claim. If you are naming more than
                five (5)defendants, make a copy of this page to provide the information for additional defendants.

     16. Defendant      ~ W 4 le.~ v~✓                                                                   resides or works at
                     (fi—iII name oftirs~~en ant
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                     (full address of first defendant)


                      ~enc~ant s position an ht e, i any,
                     ae


         The defendant is sued in his/her(Check one or both): ~individual 'official capacity.

         Explain how this defendant was acting under color of law:

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   I~ Defendant                                                                                          resides or works at
                       u name ~


                     (full address of first defendant)

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                     (defend is pos ion and title, ~ any)


         The defendant is sued in his/her (Check one or both): ,J$~individual        ~l official capacity.

         Explain how this defendant was acting under color of law:
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   1~. Defendant                                                                                         resides ar works at
                     (tuu name or rust aerenaan~~


                     (full address of first defendant)




         The defendant is sued in his/her (Check one or both): ~individual           ~ official capacity.

         Explain how this defendant was acting under color of law:




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                                                                                                  ~.
     ~~j, Defendant                                                        ~o ~,.~fiY c~U,~~ y u~_ resides or works at
                       (Tull name of I~rs[ QeienQan[)           —     •

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                       (full address of first defendant)


                        c                                   ~
          The defendant is sued in his/her(Check one or both): ❑individual              1$Tofficial capacity.

          Explain how this defendant was acting under color of law:



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   ;6Q. Defendant           ~ i r+~ Ea er I v       M. Pew rso h                                            resides or works at
                       (full name of first defendant)

                            ~to5 ~ S"films S~-v~~"~"SG ~,"i-~ A ~~,~ ~ z`~
                       (full address of first defendant)

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          The defendant is sued in his/her (Check one or both):           (individual      official capacity.

         Explain how this defendant was acting under color of law:
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CV-66 (7/97)                                                                                                              ~
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     Case 8:18-cv-00206-JGB-JC Document 14 Filed 07/09/18 Page 11 of 29 Page ID #:165


D. CLAIMS*
                                                     CLAIM I~ CZ)
  The following civil right has been violated:




                                                                     the facts clearly, in your own words, and without
   Supporting Facts: Include all facts you consider important. State
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   citing legal authority or argument. Be certain you describe,in sepazat
    DEFENDANT(by name)did to violate your right.




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        Case 8:18-cv-00206-JGB-JC Document 14 Filed 07/09/18 Page 12 of 29 Page ID #:166



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D. CLAIMS*
                                                         CLAIM III~(~~
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    Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
    citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
    DEFENDANT(by name) did to violate your right.
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 D. CLAIMS*
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      Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
      citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
      DEFENDANT (by name) did to violate your right.
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      *If there is more than one claim, describe the additional claims) on another attachedpiece ofpaper using the same
      outline.


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 Case 8:18-cv-00206-JGB-JC Document 14 Filed 07/09/18 Page 20 of 29 Page ID #:174
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D. CLAIMS*
                                                           CLAIM ~/)(5
      The following civil right has been violated:
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      Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
      citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
      DEFENDANT(by name) did to violate your right.
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      Case 8:18-cv-00206-JGB-JC Document 14 Filed 07/09/18 Page 26 of 29 Page ID #:180
D. CLAIMS*
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     The following civil right has been violated:
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     Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
     citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
     DEFENDANT(by name) did to violate your right.


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      Case 8:18-cv-00206-JGB-JC Document 14 Filed 07/09/18 Page 27 of 29 Page ID #:181
E. REQUEST FOR RELIEF

    I believe that I am entitled to the following specific relief
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                (Date)                                                 (Signature ofPlaintiff




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